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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
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                                                                :
 LOUISETTE GEISS, et al.,                                       :
                                                                :   ORDER DENYING MOTION
                                         Plaintiffs,            :   FOR PRELIMINARY
              v.                                                :   APPROVAL
                                                                :
 THE WEINSTEIN COMPANY HOLDINGS LLC, :                              17 Cv. 9554 (AKH)
 et al.,                                                        :
                                                                :
                                          Defendants.           :
                                                                :
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ALVIN K. HELLERSTEIN, U.S.D.J.:

                 As stated on the record at today’s hearing, the motion for preliminary approval of

the class action settlement (ECF No. 333) is denied. A memorandum decision will follow setting

out reasons. Furthermore, the motions regarding the regulation of the preliminary approval

process (ECF Nos. 334, 344) are denied as moot. The Clerk is directed to close the open

motions (ECF Nos. 333, 334, 344).

                 SO ORDERED.

Dated:           July 14, 2020                                /s/ Alvin K. Hellerstein
                 New York, New York                         ALVIN K. HELLERSTEIN
                                                            United States District Judge
